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Attorney or Party Name, Address, Telephone & FAX FOR COURT USE ONLY

Nos., State Bar No. & Email Address
Robert H. Marcereau (SBN 211534}

MARCEREAU & NAZIF

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Foothill Ranch, California 92610

Tel: (949) 531-6500

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] Individual appearing without attorney
DX] Attorney for: Plaintiff

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

In re:
Kent Wycliffe Easter, dba Kent Easter Consuiting, CASE NO.: 8:16-bk-10223-ES
dba Law Offices of Kent W. Easter
ADVERSARY NO.: 8:16-ap-01114-ES
CHAPTER: 7
Debtor(s).
Keili Peters JOINT STATUS REPORT
[LBR 7016-1(a)(2)]
ae DATE: March 9, 2017
Plaintiff(s). | tiyye- 9:30 AM
v8. COURTROOM: 5A
Kent Wycliffe Easter, dba Kent Easter Consulting, ADDRESS: 411 W. Fourth Street
dba Law Offices of Kent W. Easter Santa Ana, CA 92701
Defendant(s).

The parties submit the following JOINT STATUS REPORT in accordance with LBR 7016-1(a}(2):

A. PLEADINGS/SERVICE:

1. Have all parties been served with the complaint/counterclaim/cross-claim, etc. KX Yes [No
(Claims Documents)?

2. Have all parties filed and served answers to the Claims Documents? { Yes [No
3. Have all motions addressed to the Claims Documents been resolved? OU Yes I No
4. Have counse! met and conferred in compliance with LBR 7026-17 Bd Yes [No

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5.

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If your answer to any of the four preceding questions is anything other than an unqualified “YES,” please
explain below (or on attached page):

Plaintiffs previously filed a MSJ. The court granted the MSJ with respect to Plaintiff Kelli Peters, but has
delayed ruling on the amount of damages that are nondischargeable untit after Defendant's appeal of the
underlying case has been concluded. Plaintiffs also intend to file a second MSJ as to Plaintiffs Bill and
Sydnie Peters after Defendant's appeal has concluded.

B. READINESS FOR TRIAL:

4. When will you be ready for trial in this case?
Piaintiff Defendant
Unknown at this time as this may depend on the
August 14, 2017. outcome of Debtor's appeal.
2. If your answer to the above is more than 4 monihs after the summons issued in this case, give reasons for further
delay.
Plaintiff Defendant
See above
Defendant has a pending appeal.
3. When do you expect to complete your discovery efforts?
‘ Plaintiff Defendant
June 2017. June, 2017.
4. What additional discovery do you require to prepare for trial?
Plaintiff Defendant
Possible written discovery, possibie depositions
Potentially may require written discovery and
deposition regarding Defendant's intentional acts.
Cc. TRIAL TIME:
1. What is your astimate of the time required to present your side of the case at trial (including rebuttal stage if
applicable)?
Plaintiff Defendant
1 day 1 day
2. How many witnesses do you intend to call at trial (including opposing parties)?

Plaintiff Defendant

3 5-10 depending on whether the parties can stinufate to
admission of certain exhibits

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3. How many exhibits do you anticipate using at trial?
Plaintiff Defendant

10 10-30

D. PRETRIAL CONFERENCE:

A pretrial conference is usually conducted between a week to a month before trial, at which time a pretrial order will
be signed by the court. [See LBR 7916-1.] If you believe that a pre-trial conference is not necessary or appropriate in
this case, please so note below, stating your reasons:

Piaintiff Defendant
Pretrial conference [is [lis not requested Pretrial conference [X{is [is not requested
Reasons: Reasons:

Narrow issues before trial, including re evidentiary
issues or pretrial stipulation issues.

Plaintiff Defendant
Pretrial conference should be set after: Pretrial conference should be set after:
(date) July 6, 2017. (date) Unknown

E. SETTLEMENT:

1. What is the status of settlement efforts?

Settlement discussions have taken place but no settlement was reached.

2. Has this dispute been formally mediated? FHlYes [INo
If so, when?

3. Do you want this matter sent to mediation at this time?

Plaintiff Defendant
[] Yes [Xf No X Yes O No

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F, FINAL JUDGMENT/ORDER:

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Any party who contests the bankruptcy court's authority to enter a final judgment and/or order in this adversary
proceeding must raise its objection below. Failure to select either box below may be deemed consent.

Plaintiff
{| do consent
(J | do not consent

to the bankruptcy court's entry of a final judgment
and/or order in this adversary proceeding.

Defendant
EX] ! do consent
C] | do not consent

to the bankruptcy court’s entry of a final judgment
and/or order in this adversary proceeding.

G. ADDITIONAL COMMENTS/RECOMMENDATIONS RE TRIAL: (Use additional page if necessary)

Respectfully submitted,
nate: Af L6 [200 7

MARCEREAU & NAZIF
Printed name of law firm

s/ Robert H. Marcereau
Signature

Robert H. Marcereau
Printed name

Attorney for: Plaintiff

Date: 2/28/2017

GOE & FORSYTHE, LLP
Printed name of law firm

Signature

Charity J. Miller
Printed name

Attorney for. Defendant

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December 2075

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceéding. My business address is:
26000 Towne Centre Drive, Suite 230, Foothill Ranch, California 92610

A true and correct copy of the foregoing document entitled (specify): JOINT STATUS REPORT [LBR 7016-1(a)(2)] will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
2/28/17, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Robert P. Goe: kmurphy@goeforlaw.com, rgoe@goeforlaw.com:; goeforecf@gmail.com
Trustee, Weneta M. Kosmala: ecf.alert+Kosmala@titlexi.com; wkosmala@txitrustee.com; dmf@txitrustee.com;
kgecrge@kosmalalaw.com
United States Trustee: ustpregion16.sa.ecf@usdoj.gov
L] Service information continued on attached page

x

2. SERVED BY UNITED STATES MAIL:

On (date) 2/28/17, | served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Debtor/Defendant: Attorney for Debtor/Defendant: Trustee:

Kent W. Easier Robert P. Goe Weneta M Kosmala

153 Baywood Dr. Goe & Forsythe, LLP 3 MacArthur Place, Suite 760
Newport Beach, CA 92660 18101 Von Karman, Ste 1200 Santa Ana, CA 92707

Irvine, CA 92612
Judge: Hon. Erithe A. Smith
U.S. Bankruptcy Court Central District
411 W. Fourth St., Suite 5040 / Ctrm 5A
Santa Ana, CA 92701-4593

L] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 2/28/17 | served the following persons
and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method}, by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

[| Service information continued on attached page
declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

2/28/2017 Nicole Lipowski /s/ Nicole Lipowski
Date Printed Name Signature

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE
